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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO



 Criminal Case No. 17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 KAREN LYNN McCLAFLIN,
     Defendants.

 _____________________________________________________________________

                         ENTRY OF APPEARANCE
 _____________________________________________________________________

      I, Nathan Chambers, hereby certify that I am a member in good standing of the bar

 of this court and I enter my appearance as counsel of record for Karen McClaflin and

 request that all future documents, pleadings, notices and other matters be directed to

 the address and telephone number set forth below.

      This Entry of Appearance is made pursuant to District Court General Order 2020-7.


 DATED: June 10, 2020.              Respectfully submitted,


                                    NATHAN D. CHAMBERS LLC
                                    By:    s/Nathan D. Chambers
                                    Nathan D. Chambers
                                    303 16th Street, Suite 200
                                    Denver, Colorado 80202
                                    (303) 825-2222




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 10, 2020, I presented the foregoing to the Clerk of the
 Court for filing and uploading to the CM/ECF system which will send notification of such filing
 to counsel of record.



                                            By:    s/Nathan D. Chambers
                                            Nathan D. Chambers
                                            303 16th Street, Suite 200
                                            Denver, Colorado 80202
                                            (303) 825-2222




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